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 3

 4                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 5                                    AT SEATTLE

 6
        IRONBURG INVENTIONS LTD.,
 7                           Plaintiff,
                                                       C17-1182 TSZ
 8         v.
                                                       VERDICT
 9      VALVE CORPORATION,
10                           Defendants.

11
           We, the jury, answer the questions submitted by the Court as follows:
12
           Question No. 1
13
           Do you find for plaintiff on its claim of patent infringement with respect to one or
14
     more of the Claims of the ’525 Patent?
15
           Answer:
16

17         Claim 2                       x
                                    Yes _____           No _____

18         Claim 4                       x
                                    Yes _____           No _____

19         Claim 7                       x
                                    Yes _____           No _____

20         Claim 9                       x
                                    Yes _____           No _____

21         Claim 10                      x
                                    Yes _____           No _____

22         Claim 11                      x
                                    Yes _____           No _____

23
           Claim 18                      x
                                    Yes _____           No _____

     VERDICT - 1
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 1         If your answer to Question No. 1 is “Yes” as to one or more Claims of the

 2 ’525 Patent, then proceed to Question No. 2. If your answer to Question No. 1 is

 3 “No” as to all Claims of the ’525 Patent, then please date the Verdict form and enter

 4 the name of the presiding juror in the space provided.

 5

 6         Question No. 2

 7         Do you find that any patent infringement was willful?

 8         Answer:

 9                      x
                   Yes _____          No _____

10

11         Question No. 3

12         What amount of damages, if any, do you award to plaintiff on its claim of patent

13 infringement?

14         Answer:

15                   4,029,533.93
                   $_______________________________

16

17

18                          1            February
           DATED this _______ day of ____________________, 2021.

19

20

21
                                                    Presiding Juror
22

23

     VERDICT - 2
